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EXHIBIT A

Proposed Order

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Tn re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., ef al.,! Case No. 14-10979 (CSS)

Debtors. (Jointly Administered)

ORDER FURTHER EXTENDING DEADLINE TO
ASSUME OR REJECT A CERTAIN NONRESIDENTIAL REAL
PROPERTY LEASE UNDER SECTION 365(d)(4) OF THE BANKRUPTCY CODE

Upon the Stipulation Further Extending Deadline to Assume or Reject a Certain
Nonresidential Real Property Lease Under Section 365(d)(4) of the Bankruptcy Code, dated
January 6, 2015 (the “Stipulation”),’ a copy of which is attached hereto as Exhibit 1, and upon
the record of these chapter 11 cases and due deliberation thereon, and good and sufficient cause
appearing therefor, it is HEREBY ORDERED THAT:

1. The Stipulation is approved.

2, The date within which the Debtors must assume or reject the Lease is hereby
extended up to and including February 28, 2015.

3. Nothing in this Order (the “Order’’) or the Stipulation shall prejudice the Debtors’
right to seek further extensions of time within which the Debtors must assume or reject the

Lease, consistent with section 365(d)(4) of the Bankruptcy Code, as applicable.

The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The
location of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large
number of debtors in these chapter 11 cases, which are being jointly administered, a complete list of
the debtors and the last four digits of their federal tax identification numbers is not provided herein. A
complete list of such information may be obtained on the website of the debtors’ claims and noticing
agent at http://www.ethcaseinfo.com.

Capitalized terms used but not defined herein shall have the same meaning as in the Stipulation.

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4, Nothing contained in this Order or the Stipulation or any actions taken by the
Parties pursuant to the relief granted herein is intended or should be construed as: (a) an
admission that the Agreement is a lease under section 365(d)(4); (b) an admission as to the
validity or amount of any particular claim against a Debtor entity; (c) a waiver of the Parties’
rights to dispute any particular claim on any grounds; (d) a promise or requirement to pay any
particular claim; (e¢)} an admission by the Parties that any contract or lease, including the Lease, is
executory or unexpired, as applicable; (f) a waiver or limitation of the Parties’ rights under the
Bankruptcy Code or any other applicable law, including the Debtors” right to assume, reject,
and/or seek any other related relief with respect to any contract or lease; or (g) an alteration,
amendment, or other modification of the terms of the Lease; or (h} an admission that any claim
which TRWD may file in the event that the Court grants the Rejection Motion is subject to any
cap, including but not limited to caps under section 502(b)(6).

5, Nothing contained in this Order or the Stipulation shall prejudice the Debtors’
arguments set forth in the Rejection Motion or otherwise alter the rights and remedies of the
Parties, including with respect to the applicability of section 365(d)(4) of the Bankruptcy Code to
the Lease, and the rights and remedies of the Parties with respect to the Rejection Motion, any
asserted claims or expenses, or related relief shall be without regard to the passage of time from
the original date of the Hearing, November 20, 2014, to the date to which the Hearing ts
adjourned under the Stipulation.

6. The Debtors are authorized to take all actions necessary to effectuate the relief
granted pursuant to this Order in accordance with the Stipulation.

7. The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

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8. All time periods set forth in this Order shall be calculated in accordance with
Bankruptcy Rule 9006(a).

9. This Court shall retain exclusive jurisdiction to resolve any dispute arising from
or related to this Order.

Dated: January » 2015
Wilmington, Delaware

THE HONORABLE CHRISTOPHER 8. SONTCHI
UNITED STATES BANKRUPTCY JUDGE

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EXHIBIT |

Stipulation

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Chapter 11

In re:
ENERGY FUTURE HOLDINGS CORP., ef al,’ Case No. 14-10979 (CSS)

Debtors. (Jointly Administered)

See ee ee ee ee”

STIPULATION FURTHER EXTENDING DEADLINE TO
ASSUME OR REJECT A CERTAIN NONRESIDENTIAL REAL
PROPERTY LEASE UNDER SECTION 365(d)(4) OF THE BANKRUPTCY CODE

Luminant Generation Company LLC {as successor in interest to Texas Power & Light
Company) (“Lessee”), a debtor in the above-captioned chapter 11 cases, and Tarrant Regional
Water District (previously known as Tarrant County Water Control and Improvement District

Number One) (“Lessor” or “TRWD”’) and, together with Lessee, the “Parties”), by and through

their undersigned counsel, hereby enter into this stipulation (this “Stipulation”), and stipulate and
agree as follows.
Recitals
WHEREAS, the Parties executed a Water Supply Contract, dated as of March 15, 1976,
along with an amendment dated January 24, 1997 regarding certain rights relating to water from
Caney Creek and the Cedar Creek Reservoir, and the construction and operation of the Forest

Grove Reservoir (the “Lease” or “Agreement”);

The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, which are being jointly administered, a complete list of the debtors and the last four digits of
their federal tax identification numbers is not provided herein. A complete list of such information may be
obtained on the website of the debtors’ claims and noticing agent at http:/Avww.ethcaseinfo.com.

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WHEREAS, on August 11, 2014, the Court entered the Order, Pursuant to Section
365(d) (4) of the Bankruptcy Code, Extending the Debtors’ Time to Assume or Reject Unexpired
Leases of Nonresidential Real Property [D.I. 1803], thereby extending the period within which
the debtors in the above-captioned case (the “Debtors”) must assume or reject unexpired leases
of nonresidential real property through and including November 25, 2014;

WHEREAS, on October 30, 2014, the Debtors filed the Motion of Energy Future
Holdings Corp., et al., for Entry of an Order Authorizing Luminant Generation Company LLC to
Reject a Water Contract with Tarrant Regional Water District, Effective Nunc Pro Tunc to the
Petition Date [D.I. 2662], seeking entry of a final order of the Court authorizing the Debtors to

reject the Lease effective nunc pro tunc to April 29, 2014 (the “Rejection Motion”);

WHEREAS, on November 14, 2014, TRWD filed its objection to the Rejection Motion
[D.1. 2771];

WHEREAS, on November 18, 2014 Debtors filed their reply in support of the Rejection
Motion [D.1. 2798];

WHEREAS, a hearing on the Rejection Motion was noticed for November 20, 2014
(the “Hearing”);

WHEREAS, on November 21, 2014, the Court entered an order approving a stipulation
by and between the Parties adjourning the Hearing to December 18, 2014, and extending the
date by which the Debtors must assume or reject the Lease through and including December 31,
2014 [D.I. 2838];

WHEREAS, on December 22, 2014, the Court entered an order approving a stipulation
by and between the Parties further adjourning the Hearing to January 13, 2015, and further
extending the date by which the Debtors must assume or reject the Lease through and including

January 31, 2015 [D.I. 3115];

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WHEREAS, the Parties have engaged in, and desire to continue to engage in, further
negotiations regarding the Lease and the Rejection Motion;
WHEREAS, to allow continued negotiations, the Debtors and Lessor have agreed to

allow the Debtors additional time to assume or reject the Lease under section 365(d)(4) of the

Bankruptcy Code, up to and including February 28, 2015 (the “Extension Deadline”);

WHEREAS, the Parties have agreed to further adjourn the Hearing on the terms and
conditions set forth in this Stipulation;

WHEREAS, the Parties desire to memorialize their agreement in this Stipulation;

NOW, THEREFORE, it is hereby stipulated and agreed to by and among the Parties:

L. The Hearing on the Rejection Motion is adjourned to February 10, 2015 at 9:30
a.m, (Eastern Standard Time), or such other time as may be agreed by the Parties.

2. Pursuant to section 365(d)(4) of the Bankruptcy Code, to the extent applicable,
the time period within which the Debtors must assume or reject the Lease is further extended
from January 31, 2015, through and including the Extension Deadline.

3. The Parties acknowledge and agree that this Stipulation hereby constitutes “prior
written consent of the lessor,” to the extent required by section 365(d}(4)(B)(@i1) of the
Bankruptcy Code, and that no further consent of Lessor shall be required for the sole purpose of
extending the time within which the Debtors must assume or reject the Lease through and
including the Extension Deadline.

4. The extensions of time granted pursuant to this Stipulation are without prejudice
to the Debtors’ rights to seek further extensions of their time to assume or reject the Lease as
provided in Section 365(d)\(4).

5, Nothing contained in this Stipulation or any actions taken by the Parties pursuant

to the relief granted herein is intended or should be construed as: (a) an admission that the

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Agreement is a lease under section 365(d)(4); (b) an admission as to the validity or amount of
any particular claim against a Debtor entity; (c) a waiver of the Parties’ rights to dispute any
particular claim on any grounds; (d) a promise or requirement to pay any particular claim; (e) an
admission by the Parties that any contract or lease, including the Lease, is executory or
unexpired, as applicable; (f) a waiver or limitation of the Parties’ nights under the Bankruptcy
Code or any other applicable law, including the Debtors’ right to assume, reject, and/or seek any
other related relief with respect to any contract or lease; or (g) an alteration, amendment, or other
modification of the terms of the Lease; or (h) an admission that any claim which TRWD may file
in the event that the Court grants the Rejection Motion is subject to any cap, including but not
limited to caps under section 502(b)(6).

6. The Parties’ entry into this Stipulation and the adjournment of the Hearing shall in
no way prejudice the Debtors’ arguments set forth in the Rejection Motion or otherwise alter the
rights and remedies of the Parties, and the rights and remedies of the Parties with respect to the
Rejection Motion, any asserted claims or expenses, or related relief shall be without regard to the
passage of time from the original date of the Hearmg, November 20, 2014, to the date to which
the Hearing is adjourned under this Stipulation.

7. The Debtors are authorized to take all actions necessary to effectuate the relief
granted pursuant to and in accordance with this Stipulation.

8. The terms and conditions of this Stipulation shall be immediately effective and
enforceable upon its entry.

9, The Bankruptcy Court retains sole and exclusive jurisdiction to enforce the
provisions of this Stipulation.

[Signatures follow. ]

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IN WITNESS WHEREOF, the Parties hereby have caused this Stipulation to be duly

executed as of the 6" day of January, 2015.

/s/ Susan_E. Kaufman

/s/ Jason M. Madron

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